    Case 23-21516-JKS                         Doc 30 Filed 01/06/24 Entered 01/07/24 00:14:02                                                        Desc Imaged
                                                   Certificate of Notice Page 1 of 4
 Information to identify the case:
 Debtor
                Artex Inc.                                                                 EIN:   22−3818576
                Name

 United States Bankruptcy Court     District of New Jersey                                 Date case filed for chapter:       11     12/12/23

 Case number:       23−21516−JKS

Official Form 309F2 (For Corporations or Partnerships under Subchapter V)

Notice of Chapter 11 Bankruptcy Case                                                                                                                   10/20

For the debtor listed above, a case has been filed under chapter 11 of the Bankruptcy Code. An order for relief has
been entered.
This notice has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlines. Read both pages carefully.
The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not take action to collect debts
from the debtor or the debtor's property. For example, while the stay is in effect, creditors cannot sue, assert a deficiency, repossess property, or
otherwise try to collect from the debtor. Creditors cannot demand repayment from the debtor by mail, phone, or otherwise. Creditors who violate the stay
can be required to pay actual and punitive damages and attorney's fees.
Confirmation of a chapter 11 plan may result in a discharge of debt. A creditor who wants to have a particular debt excepted from discharge may be
required to file a complaint in the bankruptcy clerk's office within the deadline specified in this notice. (See line 12 below for more information.)
To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at the address listed below or
through PACER (Public Access to Court Electronic Records at https://pacer.uscourts.gov).

The staff of the bankruptcy clerk's office cannot give legal advice.

Do not file this notice with any proof of claim or other filing in the case.
Undeliverable notices will be sent by return mail to the debtor. It is the debtor's responsibility to obtain the party's correct address, resend the
returned notice, and notify this office of the party's change of address. Failure to provide all parties with a copy of this notice may adversely
affect the debtor as provided by the Bankruptcy Code.



  1. Debtor's full name                       Artex Inc.


  2. All other names used in the
     last 8 years


  3. Address                                  31 Currie Avenue
                                              Wallington, NJ 07057

                                              David L. Stevens                                           Contact phone 973−696−8391
  4. Debtor's attorney                        Scura, Wigfield, Heyer & Stevens
      Name and address                        1599 Hamburg Turnpike                                      Email: dstevens@scura.com
                                              Wayne, NJ 07470

  5. Bankruptcy trustee                       Mark Politan
      Name and address                        Politan Law, LLC                                            Contact phone (973) 768−6072
                                              88 East Main Street #502
                                              Mendham, NJ 07945

  6. Bankruptcy clerk's office                MLK Jr Federal Building                                     Hours open: 8:30 AM − 4:00 p.m.,
      Documents in this case may be filed     50 Walnut Street                                            Monday − Friday (except holidays)
      at this address.                        Newark, NJ 07102
      You may inspect all records filed in
      this case at this office or online at   Additional information may be available at the              Contact phone 973−645−4764
      https://pacer.uscourts.gov. (800)       Court's Web Site:
      676−6856                                www.njb.uscourts.gov.                                       Date: 1/4/24



                                                                                                           For more information, see page 2 >


Official Form 309F2 (For Corporations or Partnerships under Subchapter V)                Notice of Chapter 11 Bankruptcy Case                         page 1
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                                                 Certificate of Notice Page 2 of 4
Debtor Artex Inc.                                                                                                      Case number 23−21516−JKS


   7. Meeting of creditors                                                                              Location:
      The debtor's representative January 24, 2024 at 10:00 AM
      must attend the meeting to                                                                        Section 341 Meeting will be
      be questioned under oath. The meeting may be continued or adjourned to a later                    conducted by telephone. Please
      Creditors may attend, but   date. If so, the date will be on the court docket.
                                                                                                        consult the docket or contact the
      are not required to do so.                                                                        trustee appointed to the case for
                                                                                                        access or call−in information.


  8. Proof of claim deadline               Deadline for filing proof of claim: 2/20/24 For a governmental unit: 6/10/24

                                           A proof of claim is a signed statement describing a creditor's claim. A proof of claim form ("Official Form
                                           410") may be obtained at www.uscourts.gov or any bankruptcy clerk's office. You may also contact the
                                           Clerk's Office where this case is pending to request that a Proof of Claim form be mailed to you. The Clerk's
                                           Office telephone number is included on the front of this Notice. Also, Claims can be filed electronically
                                           through the court's website at: http://www.njb.uscourts.gov under File An Electronic Claim.

                                           Your claim will be allowed in the amount scheduled unless:

                                                   • your claim is designated as disputed, contingent, or unliquidated;
                                                   • you file a proof of claim in a different amount; or
                                                   • you receive another notice.
                                           If your claim is not scheduled or if your claim is designated as disputed, contingent, or unliquidated, you
                                           must file a proof of claim or you might not be paid on your claim and you might be unable to vote on a plan.
                                           You may file a proof of claim even if your claim is scheduled.

                                           You may review the schedules at the bankruptcy clerk's office or online at https://pacer.uscourts.gov.

                                           Secured creditors retain rights in their collateral regardless of whether they file a proof of claim. Filing a
                                           proof of claim submits a creditor to the jurisdiction of the bankruptcy court, with consequences a lawyer can
                                           explain. For example, a secured creditor who files a proof of claim may surrender important nonmonetary
                                           rights, including the right to a jury trial.


  9. Exception to discharge                If § 523(c) applies to your claim and you seek to have it excepted from discharge, you must start a judicial
     deadline                              proceeding by filing a complaint by the deadline stated below.
      The bankruptcy clerk's office must
      receive a complaint and any required
      filing fee by the following deadline. Deadline for filing the complaint:


                                            If you are a creditor receiving notice mailed to a foreign address, you may file a motion asking the court to
  10. Creditors
      address
                with a foreign              extend the deadlines in this notice. Consult an attorney familiar with United States bankruptcy law if you
                                            have any questions about your rights in this case.


                                           Chapter 11 allows debtors to reorganize or liquidate according to a plan. A plan is not effective unless the
                                           court confirms it. You may receive a copy of the plan and a disclosure statement telling you about the plan,
  11. Filing a Chapter 11
      bankruptcy case
                                           and you may have the opportunity to vote on the plan. You will receive notice of the date of the confirmation
                                           hearing, and you may object to confirmation of the plan and attend the confirmation hearing. The debtor will
                                           generally remain in possession of the property and may continue to operate the debtor's business.


                                          Confirmation of a chapter 11 plan may result in a discharge of debts, which may include all or part of your
                                          debt. See 11 U.S.C. § 1141(d). A discharge means that creditors may never try to collect the debt from the
                                          debtor except as provided in the plan. If you want to have a particular debt owed to you excepted from the
                                          discharge and § 523(c) applies to your claim, you must start a judicial proceeding by filing a complaint and
  12. Discharge of debts                  paying the filing fee in the bankruptcy clerk's office by the deadline.

                                          WRITING A LETTER TO THE COURT OR THE JUDGE IS NOT A SUBSTITUTE FOR FILING AN
                                          ADVERSARY COMPLAINT OBJECTING TO DISCHARGE OR DISCHARGEABILITY. IN NO
                                          CIRCUMSTANCE WILL WRITING A LETTER PROTECT YOUR RIGHTS.




Official Form 309F2 (For Corporations or Partnerships under Subchapter V)              Notice of Chapter 11 Bankruptcy Case                          page 2
       Case 23-21516-JKS                    Doc 30 Filed 01/06/24 Entered 01/07/24 00:14:02                                              Desc Imaged
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                                                              United States Bankruptcy Court
                                                                  District of New Jersey
In re:                                                                                                                 Case No. 23-21516-JKS
Artex Inc.                                                                                                             Chapter 11
       Debtor
                                                     CERTIFICATE OF NOTICE
District/off: 0312-2                                                  User: admin                                                                 Page 1 of 2
Date Rcvd: Jan 04, 2024                                               Form ID: 309F2                                                            Total Noticed: 20
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.

##               Addresses marked '##' were identified by the USPS National Change of Address system as undeliverable. Notices will no longer be delivered by
                 the USPS to these addresses; therefore, they have been bypassed. The debtor's attorney or pro se debtor was advised that the specified notice was
                 undeliverable.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Jan 06, 2024:
Recip ID                 Recipient Name and Address
db                     + Artex Inc., 31 Currie Avenue, Wallington, NJ 07057-2233
tr                     + Mark Politan, Politan Law, LLC, 88 East Main Street #502, Mendham, NJ 07945-1832
520109296              + Adam Oldakowski, 31 Curie Avenue, Wallington, NJ 07057-2233
520109295              + Adam Oldakowski, 31 Currie Avenue, Wallington, NJ 07057-2233
520109297              + American Express, 20500 Belshaw Avenue, Carson, CA 90746-3506
520109298              + Horizon BCBS of NJ, P.O. BOX 10130, Newark, NJ 07101-3130
520109300              + Just A Floor, 94 Miller Street, Wallington, NJ 07057-2210
520109301              + Promix Group INC, 1 Orient Way STE F# 333, Rutherford, NJ 07070-2524
520109302              + Promix LLC, 94 Miller Street, Wallington, NJ 07057-2210
520109303              + SASE Company, LLC., 2475 Stock Creek Blvd, Rockford, TN 37853-3056
520109304              + Spencer Savings Bank, 611 River Drive, Elmwood Park, NJ 07407-1348
520109305              + The Hartford, 1 Hartford Plaza, Hartford, CT 06115-1703
520109306                U.S Small Business Administration, 2 North Street, Suite 320, Birmingham, AL 35203
520109308              + Wells Fargo Bank, PO Box 51174, Los Angeles, CA 90051-5474

TOTAL: 14

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI). Electronic transmission is in Eastern
Standard Time.
Recip ID                   Notice Type: Email Address                                   Date/Time                 Recipient Name and Address
aty                        Email/Text: dstevens@scura.com
                                                                                        Jan 04 2024 20:46:00      David L. Stevens, Scura, Wigfield, Heyer &
                                                                                                                  Stevens, 1599 Hamburg Turnpike, Wayne, NJ
                                                                                                                  07470
smg                        Email/Text: sbse.cio.bnc.mail@irs.gov
                                                                                        Jan 04 2024 20:48:00      Dist Dir of IRS, Insolvency Function, PO Box 724,
                                                                                                                  Springfield, NJ 07081-0724
smg                        Email/Text: usanj.njbankr@usdoj.gov
                                                                                        Jan 04 2024 20:48:00      U.S. Attorney, 970 Broad St., Room 502, Rodino
                                                                                                                  Federal Bldg., Newark, NJ 07102-2534
smg                    + Email/Text: ustpregion03.ne.ecf@usdoj.gov
                                                                                        Jan 04 2024 20:48:00      United States Trustee, Office of the United States
                                                                                                                  Trustee, 1085 Raymond Blvd., One Newark
                                                                                                                  Center, Suite 2100, Newark, NJ 07102-5235
520109299                  Email/PDF: ais.chase.ebn@aisinfo.com
                                                                                        Jan 04 2024 21:04:59      JPMorgan Chase Bank, PO Box 33035, Louisville,
                                                                                                                  KY 40232
520109307              + Email/Text: wfmelectronicbankruptcynotifications@verizonwireless.com
                                                                                  Jan 04 2024 20:46:00            Verizon Wireless, PO Box 489, Newark, NJ
                                                                                                                  07101-0489

TOTAL: 6


                                                       BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
Recip ID         Bypass Reason Name and Address
       Case 23-21516-JKS                  Doc 30 Filed 01/06/24 Entered 01/07/24 00:14:02                                       Desc Imaged
                                               Certificate of Notice Page 4 of 4
District/off: 0312-2                                               User: admin                                                          Page 2 of 2
Date Rcvd: Jan 04, 2024                                            Form ID: 309F2                                                     Total Noticed: 20
aty                ##+           Scura, Wigfield, Heyer, Stevens & Cammarota, LLP, 1599 Hamburg Turnpike, PO Box 2031, Wayne, NJ 07470, 9 07474-2031

TOTAL: 0 Undeliverable, 0 Duplicate, 1 Out of date forwarding address


                                                   NOTICE CERTIFICATION
I, Gustava Winters, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Jan 06, 2024                                        Signature:            /s/Gustava Winters




                                 CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on January 4, 2024 at the address(es) listed
below:
Name                             Email Address
David L. Stevens
                                 on behalf of Debtor Artex Inc. dstevens@scura.com
                                 dstevens@scura.com;ecfbkfilings@scuramealey.com;pevangelista@scura.com;amurphy@scura.com;vmajano@scura.com;jromer
                                 o@scura.com;spereyra@scura.com;14518@notices.nextchapterbk.com;dwoody@scura.com;sterry@scura

Mark Politan
                                 mpolitan@politanlaw.com

Michael A. Artis
                                 on behalf of U.S. Trustee U.S. Trustee michael.a.artis@usdoj.gov

U.S. Trustee
                                 USTPRegion03.NE.ECF@usdoj.gov

Vincent J. Massa, III
                                 on behalf of Creditor SPENCER SAVINGS BANK SLA vmassa@jonesandjonesesq.com


TOTAL: 5
